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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 11-07098-ABC (SHx)                                      Date      March 17, 2014
 Title             Perfect 10 Inc. v. Giganews, Inc., et al.,




 Present: The                    Stephen J. Hillman
 Honorable
                 Sandra Butler
                 Deputy Clerk                         Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                              N/A                                                 N/A
 Proceedings:                    (IN CHAMBERS)

       The court revises Requests for Production Nos. 1 and 2, and now orders that
plaintiff respond to the following Requests:

         REQUEST FOR PRODUCTION NO. 1:

      All communications to, by or with all Third-Parties regarding Giganews and
Livewire, regarding alleged infringements of plaintiff’s copyrighted works by either
Giganews or Livewire. For all individual communications over 10 MB, produce general
components (such as cover letters) and all additional portions that are concerning
defendants, so long as the portions provide sufficient additional material to provide a
reasonable and accurate context so that one can understand the references to defendants.
Defendants may inspect the remainder of the communication at the offices of Lynell
Davis and Natalie Locke on reasonable advance notice and at a reasonable time during
the business day.

         REQUEST FOR PRODUCTION NO. 2:

        As a substitute for providing documents, Perfect 10 shall provide to Giganews a
list of all businesses, entities, and websites that it has accused, up to the date of its
response, of infringing upon its copyrights since January 1, 2000. That list shall include,
at a minimum, all the websites to which Perfect 10 referred in page 2, paragraph no. 1 of
Perfect 10's statement for the October 6, 2008 Case Management Conference before
Judge Matz in Perfect 10 v. Google, (docket No. 385, filed October 5, 2008). While

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                                  UNITED STATES DISTRICT COURT
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                                            CIVIL MINUTES - GENERAL
 Case No.       CV 11-07098-ABC (SHx)                                                                Date    March 17, 2014
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Perfect 10 must provide a current list, Perfect 10 need not include in a new list of any of
the businesses, entities, and website that it had identified in lists shown in

       Exhibits A through G in docket No. 219, or in the full 32-page document of which
Exhibit H is the first page, which it had previously filed in other cases, so long as Perfect
10 affirms in writing in this case that it has accused all those businesses, entities, and
websites of infringing upon its copyrights.




         cc:     District Judge Collins
                 Magistrate Judge Hillman
                 Counsel of Record*
                 *the term “counsel” as used herein also includes any pro se party.
                 See Local Rule 2.9.3.


                                                                                                                     :
                                                                                      Initials of Preparer




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